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12
                                UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14
15

16    LD, DB, BW, RH AND CJ on behalf of              Case No.: 4:20-cv-02254-YGR
      themselves and all others similarly
17    situated,                                       DECLARATION OF AARON MODIANO
18                                                    IN SUPPORT OF PLAINTIFF’S NOTICE
             Plaintiffs,                              OF MOTION, MOTION, AND
19                                                    MEMORANDUM OF POINTS AND
             vs.
20                                                    AUTHORITIES IN SUPPORT OF
      UNITEDHEALTHCARE INSURANCE                      MOTION FOR CLASS CERTIFICATION
21    COMPANY, a Connecticut Corporation,
22    UNITED BEHAVIORAL HEALTH, a
      California Corporation, and
23    MULTIPLAN, INC., a New York
      Corporation
24                  Defendants.
25

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     DECLARATION OF AARON MODIANO IN SUPPORT OF                            CASE NO.: 4:20-CV-02254-YGR
     PLAINTIFF’S NOTICE OF MOTION, MOTION, AND MEMORANDUM
     OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR CLASS
     CERTIFICATION
             Case 4:20-cv-02254-YGR Document 171-1 Filed 08/18/22 Page 2 of 4




            I, Aaron Modiano, an attorney, declare under penalty of perjury, that the following is true
1
     and correct, based on my personal knowledge:
2
             1.      I am an attorney at law duly licensed to practice before all courts in the State of
3
     Florida and admitted pro hac vice in this matter. I am of counsel at Arnall Golden Gregory LLP,
4
     a counsel of record for Plaintiffs in the instant action.
5
6              2.    Attached hereto and marked as Exhibit A is a true and correct copy of MPI-

7    009021;

8              3.    Attached hereto and marked as Exhibit B is a true and correct copy of MPI-
9    000615;
10
               4.    Attached hereto and marked as Exhibit C is a true and correct copy of Deposition
11
     excerpts of the deposition of Denise Strait;
12
               5.    Attached hereto and marked as Exhibit D is a true and correct copy of summary
13

14   experts from transcripts of verification of benefit calls produced by United;

15             6.    Attached hereto and marked as Exhibit E is a true and correct copy of

16   UHC000197899;
17
               7.    Attached hereto and marked as Exhibit F is a true and correct copy of excerpts of
18
     United 30(b)(6) Deposition of Rebecca Paradise;
19
               8.    Attached hereto and marked as Exhibit G are true and correct copies of summary
20
     excerpts from IBAAG screenshots produced by United;
21
22             9.    Attached hereto and marked as Exhibit H is a true and correct copy of

23   UHC000131784
24             10.   Attached hereto and marked as Exhibit I is a true and correct copy of Deposition
25
     excerpts of the deposition of Creyna Franco;
26
27

28                                                      2
     DECLARATION OF AARON MODIANO IN SUPPORT OF                                   CASE NO.: 4:20-CV-02254-YGR
     PLAINTIFF’S NOTICE OF MOTION, MOTION, AND MEMORANDUM
     OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR CLASS
     CERTIFICATION
            Case 4:20-cv-02254-YGR Document 171-1 Filed 08/18/22 Page 3 of 4




             11.    Attached hereto and marked as Exhibit J is a true and correct copy of Deposition
1
2    excerpts of the deposition of Radames Lopez;

3            12.    Attached hereto and marked as Exhibit K is a true and correct copy of Deposition
4    excerpts of the deposition of Jolene Bradley;
5
             13.    Attached hereto and marked as Exhibit L are true and correct copies of summary
6
     excerpts from summary plan descriptions produced by United;
7
             14.    Attached hereto and marked as Exhibit M is a true and correct copy of Deposition
8

9    excerpts of the deposition of Sean Crandell;

10           15.    Attached hereto and marked as Exhibit N is a true and correct copy of

11   UHC000007268;
12           16.    Attached hereto and marked as Exhibit 0 is a true and correct copy of
13
     UHC000091544;
14
             17.    Attached hereto and marked as Exhibit P are true and correct composite
15
     explanations of benefits produced by United;
16
17           18.    Attached hereto and marked as Exhibit Q are true and correct composite provider

18   remittance advices produced by United;

19           19.    Attached hereto and marked as Exhibit R are true and correct composite
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     explanations of methodology produced by United and MultiPlan;
21
             20.    Attached hereto and marked as Exhibit S is a true and correct copy of Deposition
22
     excerpts of the deposition of Jacqueline Kienzle;
23
             21.    Attached hereto and marked as Exhibit T is a true and correct copy of
24
25   UHC0009435;

26           22.    Attached hereto and marked as Exhibit U is a true and correct copy of
27   UHC00091861;
28                                                   3
     DECLARATION OF AARON MODIANO IN SUPPORT OF                               CASE NO.: 4:20-CV-02254-YGR
     PLAINTIFF’S NOTICE OF MOTION, MOTION, AND MEMORANDUM
     OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR CLASS
     CERTIFICATION
              Case 4:20-cv-02254-YGR Document 171-1 Filed 08/18/22 Page 4 of 4




              23.    Attached hereto and marked as Exhibit V is a true and correct copy of MPI-0
1
2    12799;

3             24.    Attached hereto and marked as Exhibit W is a true and correct copy of the expert
4    report of Robert Ohsfeldt;
5
              25.    Attached hereto and marked as Exhibit X is a true and correct copy of the expert
6
     report of Mark Hall;
7
              26.    Attached hereto and marked as Exhibit Y is a true and correct copy of
8

9    UHC000178695;

10            27.    Attached hereto and marked as Exhibit Z is a true and correct copy of the expert

11   report of Alexandra Lahav;
12            28.    Attached hereto and marked as Exhibit AA is a true and correct copy of the
13
     plaintiff counsels qualifications
14
              29.    Attached hereto and marked as Exhibit AB is a true and correct copy of
15
     UHC000008889;
16
17            I declare under the penalty of perjury under the laws of the District of Columbia that the

18   foregoing is true and correct, and I signed this declaration on August 17, 2022 in Washington,

19   D.C.
20

21                                                                 /s/ Aaron R. Modiano
22                                                                 Aaron R. Modiano, Esq.

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     DECLARATION OF AARON MODIANO IN SUPPORT OF                                  CASE NO.: 4:20-CV-02254-YGR
     PLAINTIFF’S NOTICE OF MOTION, MOTION, AND MEMORANDUM
     OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR CLASS
     CERTIFICATION
